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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 FRIENDS OF THE RIVER,

                        Plaintiff,                   Civil Action No. 16-2327 (JMC)

         v.

 UNITED STATES ARMY CORPS OF
 ENGINEERS, et al.,

                        Defendants.

                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, the Court orders the

following:

       All claims against Lieutenant General Todd T. Semonite, sued in his official capacity, are

DISMISSED. Accordingly, Lt. Gen. Semonite is DISMISSED from the case.

       Next, the Court PARTIALLY GRANTS and PARTIALLY DENIES Defendant’s

Motion for Summary Judgment. ECF 79. The Court grants the motion as to all materials that

Defendant withheld under the attorney-client and/or work-product privileges, and as to some

materials that were withheld under the deliberative process privilege due to their potential to cause

“public confusion.” Those records are the following: SPDF01000095, SPDF01000096,

SPDF01087483–7484, SPDF01098644–8646, SPDF01108669–8859, SPDF01108860–8862,

SPDF01112798–2812, SPDF01113024–3031, SPDF03001614–1619, SPDF03005625–5709,

SPDF03006282–6310, SPDF03007414–7415, SPDF03007586–7615, SPDF03009080–9082,

SPDF03009443, SPDF03009444, and R_SPDF01000001–0008. The Court denies Defendant’s

motion as to all other withheld materials.




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       Finally, the Court PARTIALLY GRANTS and PARTIALLY DENIES Plaintiff’s Cross-

Motion for Summary Judgment. ECF 80. The Court orders Defendant to release all responsive

materials that were withheld solely pursuant to the deliberative process privilege, with the

exception of the specific records identified in the previous paragraph.

       SO ORDERED.

       DATE: June 21, 2023




                                                             Jia M. Cobb
                                                             U.S. District Court Judge




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